                     IN THE UNITED STATES BANKRUPTCY COURT
                 NORTHERN DISTRICT OF ALABAMA, NORTHERN DIVISION

   IN RE:                                           )
                                                    )
   ROBERTS, WILLIAM BARRIER                         ) CASE NO. 18-83442-CRJ11
   SSN: XXX-XX-9314                                 ) CHAPTER 11
                                                    )
       Debtor.                                      )


                   MOTION TO CONTINUE CONFIRMATION HEARING
                        AND ALL ASSOCIATED DEADLINES

        COMES NOW William Barrier Roberts (“Debtor”), by and through undersigned counsel,

 and moves this Honorable Court to continue the confirmation hearing on Thursday, March 12,

 2020 (the “Confirmation Hearing”) and all associated deadlines set forth in the Court’s Order dated

 November 21, 2019 [Doc 240], and as grounds therefore would show as follows:

        1.       Debtor has recently been diagnosed with cancer for the second time this year and

 is being transferred to Vanderbilt University Medical Center in Nashville, Tennessee to undergo

 intensive chemotherapy treatment.

        2.       Debtor is scheduled to begin the intensive chemotherapy treatment the week of

 March 9, 2020.

        WHEREFORE, premises considered, Debtor moves this Honorable Court to continue the

 Confirmation Hearing and all associated deadlines set forth in this case from the March 12, 2020

 docket, to a date to be determined by the Court.

        Respectfully submitted on February 27, 2020.

                                                             /s/ Stuart M. Maples
                                                             STUART M. MAPLES
                                                             (ASB-1974-S69S )




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                                  CERTIFICATE OF SERVICE

 I do hereby certify that on February 27, 2020, a copy of the foregoing document was served on
 the following by Electronic Case Filing a copy of the same.

 Richard Blythe
 Bankruptcy Administrator
 richard_blythe@alnba.uscourts.gov

 All parties requesting notice via CM/ECF

 All parties listed on the creditor mailing matrix

                                                           /s/ Stuart M. Maples
                                                           STUART M. MAPLES




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